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                    EX. 145
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,                          )
on behalf of itself and all others similarly situated,       )   No. 11-cv-10230 MLW
                                                             )
Plaintiffs,                                                  )
                                                             )
v.                                                           )
                                                             )
STATE STREET BANK AND TRUST COMPANY,                         )
                                                             )
Defendant.                                                   )
                                                             )
ARNOLD HENRIQUEZ, MICHAEL T. COHN,                           )
WILLIAM R. TAYLOR, RICHARD A. SUTHERLAND,                    )   No. 11-cv-12049 MLW
and those similarly situated,                                )
                                                             )
Plaintiffs,                                                  )
                                                             )
v.                                                           )
                                                             )
STATE STREET BANK AND TRUST COMPANY,                         )
STATE STREET GLOBAL MARKETS, LLC and                         )
DOES 1-20,                                                   )
                                                             )
Defendants.                                                  )
                                                             )
THE ANDOVER COMPANIES EMPLOYEE SAVINGS                       )
AND PROFIT SHARING PLAN, on behalf of itself, and            )   No. 12-cv-11698 MLW
JAMES PEHOUSHEK-STANGELAND, and all others                   )
similarly situated,                                          )
                                                             )
Plaintiffs,                                                  )
                                                             )
v.                                                           )
                                                             )
STATE STREET BANK AND TRUST COMPANY,                         )
                                                             )
Defendant.                                                   )
                                                             )

                        DECLARATION OF DANIEL P. CHIPLOCK

        Daniel P. Chiplock, Esq., declares as follows, pursuant to 28 U.S.C. § 1746:



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       1.      I am a partner with the law firm of Lieff Cabraser Heimann & Bernstein, LLP

(“Lieff Cabraser”). I submit this declaration to further elaborate on my prior testimony

concerning my understanding and belief, at all times prior to September 2017, as to Chargois &

Herron LLP’s role as reputed “local counsel” in the State Street litigation, and the basis for that

understanding and belief.

       2.      For my declaration, to avoid repetition, I specifically refer to and incorporate the

Response by Lieff Cabraser Heimann & Bernstein LLP to [the] Special Master’s September 7,

2017 Request for Supplemental Submission, dated November 3, 2017 (“the Supplemental

Submission”)1, and the citations to the record therein.2

       3.      As detailed in the Supplemental Submission and my prior deposition testimony

dated September 8, 2017 (“Sept. 8 Deposition”), in the few communications where Lieff

Cabraser attorneys were copied or participated that concerned Damon Chargois, he was

consistently referred to by attorneys outside of Lieff Cabraser as “local counsel” for Labaton

Sucharow LLP (“Labaton”) and/or the client, the Arkansas Teacher Retirement System

(“ATRS”).3 See Exhibits A and B.




1
  The Supplemental Submission is attached hereto as Exhibit A, for ease of reference.
2
  All emails referenced in the Supplemental Submission, in addition to several others relevant to
the issue of Lieff Cabraser’s mindset, are attached collectively as Exhibit B.
3
  The Ethical Report for Special Master Gerald E. Rosen by Prof. Stephen Gillers (“Ethical
Report”), dated February 23, 2018, refers to an “original cost-sharing agreement” mentioning
Mr. Chargois that purportedly was “circulated—but never executed—among Customer Class
Counsel in 2011,” but Lieff Cabraser has no record of its attorneys ever having received this
document. See Ethical Report, p. 42 and n. 47. Indeed, the testimony cited in n. 47 of the
Ethical Report appears to confirm that this document was not “circulated . . . among Customer
Class Counsel” but instead was a draft that was circulated solely between Christopher Keller (of
Labaton) and Garrett Bradley (of Thornton Law Firm). The first mention that Lieff Cabraser can
find of Mr. Chargois in any communication involving Lieff Cabraser is the April 2013 email
string described in paragraph 2 of the Supplemental Submission.

                                                 2
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       4.      Lieff Cabraser’s attorneys referred to Mr. Chargois in kind as “local counsel” in

the handful of communications they exchanged with co-counsel about Mr. Chargois and in

internal Lieff Cabraser communications. Co-counsel never corrected Lieff Cabraser’s attorneys,

nor suggested to Lieff Cabraser’s attorneys that Mr. Chargois was anything other than “local

counsel.” See Exhibit B.

       5.      Lieff Cabraser was not lead counsel in the State Street litigation, and had no direct

client relationship with ATRS. Indeed, the Lieff Cabraser attorneys did not interact with George

Hopkins (the chief representative for ATRS in the litigation) at all during the State Street

litigation, outside of the mediation sessions that Mr. Hopkins personally attended. Lieff

Cabraser’s attorneys also never spoke with Mr. Chargois to my knowledge, and had no

interactions with him outside of a few group emails. For its understanding of Mr. Chargois’ role

and function in the State Street litigation, Lieff Cabraser accordingly relied on the

representations by Labaton, who was lead counsel, and Mr. Garrett Bradley, who prior to the

conclusion of the State Street litigation was Of Counsel to Labaton, and on Mr. Chargois’

confirmations by email (copied to both Bob Lieff and myself) of his role as local counsel and his

important role in the case. (For the latter, see Chargois’ emails of April 25, 2013 [LBS025771]

and July 8, 2016 [LCHB-0053544-45], contained in Exhibit B).

       6.      During the life of the State Street litigation, Lieff Cabraser had no visibility into

any work being performed by Mr. Chargois. But this was not unusual for a local counsel

working in tandem with a lead counsel, in my recent experience. In the BNY Mellon litigation

(where Lieff Cabraser -
                      did
                        - serve as lead counsel), Lieff Cabraser worked with an Ohio-based

local counsel for its Ohio-based public pension fund clients. That local counsel (who was

selected by the Ohio Attorney General) communicated directly and virtually exclusively with

Lieff Cabraser insofar as his work assignments were concerned. His work was focused primarily
                                                  3
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on assisting Lieff Cabraser in guiding the Ohio pension fund clients through their responses to

defendants’ discovery requests, as well as helping to defend their depositions. This was but one

distinct part of a very large and complex litigation effort (which involved taking more than 100

depositions overall, including scores of depositions of defendants and third parties all over the

globe), which involved many law firms. Throughout this, the Ohio local counsel’s principal

focus remained serving the Ohio public pension funds’ individual discovery and litigation needs

(with some document review assignments as well). As such, he and his firm had very little (if

any) contact with Lieff Cabraser’s co-lead counsel in that case (Kessler Topaz Meltzer & Check

LLP), and virtually none with the other law firms who were -
                                                           not
                                                             - serving in a co-lead capacity

(which would have been analogous to Lieff Cabraser’s position in the State Street litigation).

       7.      The total attorneys’ fees awarded in the BNY Mellon litigation were $83,750,000,

which equated to 25% of the $335 million settlement fund in that case. Ohio local counsel was

ultimately awarded approximately 4% of the total fees by the court in that case, which was

certainly within the range of fees commonly paid or awarded (in Lieff Cabraser’s experience) to

local counsel who have performed services for the class representatives or lead counsel and thus

to the class as a whole.

       8.      The $335 million settlement in the BNY Mellon litigation was reached in

principle by March 2015, and preliminarily approved in late April 2015. Notice to the class was

sent shortly thereafter, and by then it was understood and communicated to class members that

counsel would apply for approximately a 25% attorneys’ fee. By the time the final settlement

approval and fee petitions were filed in August 2015, the level of fee we would be requesting for

Ohio local counsel in the BNY Mellon case was established – approximately 4%.

       9.      Accordingly, at about the same time that I was being apprised by co-counsel of

Mr. Chargois’ role as “local counsel” in the State Street litigation, and the contours of his fee
                                                  4
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interest were being discussed, I was in the process of finalizing and requesting a proposed fee

allocation in the BNY Mellon litigation that included a fee percentage for local counsel that was

not substantially different from what was being discussed for Mr. Chargois. That proposed fee

percentage did not strike me as outside of the norm for a local counsel such as Mr. Chargois had

been described to me. Nor did I view it as unusual that I was not privy to the specific work Mr.

Chargois had performed as local counsel; as stated above, the various non-lead counsel in BNY

Mellon, to my knowledge, had little or no substantive direct contact with Ohio local counsel in

that case.

         10.     Based on lead counsel’s descriptions, I understood during the State Street

litigation that ATRS was gathering and producing a fairly substantial number of documents in

response to defendant’s requests. All told, according to lead counsel, ATRS produced more than

73,000 pages of documents,4 an undertaking in which Lieff Cabraser was not directly involved. I

also understood that prior to Lieff Cabraser being engaged as additional counsel for the proposed

class, ATRS had spent substantial time investigating, with the assistance of its counsel, the

underlying allegations against State Street (which were first made public by the October 2009

unsealing of a whistleblower lawsuit in California) before finally filing a lawsuit in 2011, and

that this time period included one or more meetings with State Street representatives (none of

which included my firm). It was my belief, informed both by (i) co-counsel’s descriptions of

Mr. Chargois as “local counsel” who was “assisting” Labaton in matters pertaining to ATRS and

had performed “an important role” in the litigation, and (ii) my firm’s recent experience in BNY

Mellon, that Mr. Chargois had actually assisted and played an important role in these efforts. It

was also my belief, for the same reasons, that Mr. Chargois’ involvement in these efforts (and in


4
    See Decl. of Lawrence A. Sucharow, ¶ 97, Dkt. No. 104 (filed 9/15/16).

                                                  5
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the litigation overall) was at ATRS’ behest, and certainly (at a minimum) with its complete

knowledge and consent. I assumed that ATRS and lead counsel in the State Street litigation

regarded the proposed fee percentage for Mr. Chargois to be reasonable and justified by his value

to the client, and therefore to the class, based on their knowledge of his work and contributions.

       11.       My belief during the 2015-2016 timeframe as to the apparent reasonableness of

Mr. Chargois’ fee interest as “local counsel” was further informed by historical experience at my

firm. Over the years, for instance, Lieff Cabraser has been asked to serve as local counsel in a

number of securities class actions. In some other types of class actions, including cases

involving consumer protection statutes such as the Telephone Consumer Protection Act of 1991

(“TCPA”), Lieff Cabraser has requested counsel in the forum jurisdiction to act as our local

counsel. In both circumstances, the local counsel (whether it is us or another firm) has often

been offered the option of a fee arrangement predicated on lodestar or based on a percentage.

When on a percentage basis, the fee has typically ranged from a low of 5% to a high of 10% of

the total fees awarded in class cases. In the two most recent securities class cases in which Lieff

Cabraser agreed to serve as local counsel, for instance, the fee share upon which Lieff Cabraser

agreed at the outset with putative lead class counsel was 10% of the total fees awarded. While

these cases have involved local counsel in the forum court, in contrast with Mr. Chargois’

situation in the State Street litigation, this history comprises another baseline for commonly

accepted percentage fee arrangements, in my experience, for local counsel in class litigation.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 5, 2018.

                                                     ____________________________
                                                     Daniel P. Chiplock



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              EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of itself and all others similarly situated,

                                      Plaintiff,
                                                         No. 11-cv-10230 MLW
v.

STATE STREET BANK AND TRUST COMPANY,

                                      Defendant.

ARNOLD HENRIQUEZ, MICHAEL T. COHN, WILLIAM R.
TAYLOR, RICHARD A. SUTHERLAND, and those similarly
situated,

                                      Plaintiff,
                                                         No. 11-cv-12049 MLW
v.

STATE STREET BANK AND TRUST COMPANY, STATE
STREET GLOBAL MARKETS, LLC and DOES 1-20,

                                      Defendants.

THE ANDOVER COMPANIES EMPLOYEE SAVINGS AND
PROFIT SHARING PLAN, on behalf of itself, and JAMES
PEHOUSHEK-STANGELAND, and all others similarly
situated,

                                      Plaintiff,         No. 12-cv-11698 MLW
v.

STATE STREET BANK AND TRUST COMPANY,

                                      Defendant.


     RESPONSE BY LIEFF CABRASER HEIMANN & BERNSTEIN LLP TO SPECIAL
     MASTER’S SEPTEMBER 7, 2017 REQUEST FOR SUPPLEMENTAL SUBMISSION
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       Lieff Cabraser Heimann & Bernstein, LLP (“Lieff Cabraser”) respectfully provides this

individual response (“Response”) to the Special Master’s September 7, 2017 Request for

Supplemental Submission concerning “the circumstances of the monies paid to Attorney Damon

Chargois in the State Street case for his role as a referring attorney and the implications of that

payment and circumstances in addressing the charge of Judge Wolf in paragraph 2 of his

March 8, 2017 Order.”

       1.      At all times throughout the litigation of the State Street matter and up through

August 11, 2017, Mr. Chargois was described and represented to Lieff Cabraser as “local

counsel” for Labaton Sucharow LLP (“Labaton”) and/or the client, the Arkansas Teacher

Retirement System (“ATRS”). Mr. Chargois was never described to Lieff Cabraser as a

“referring,” “forwarding,” or any other kind of counsel by Labaton or Garrett Bradley (who was

a partner at Thornton Law Firm LLP (“Thornton”) throughout the litigation and, starting in or

about 2015, also of counsel at Labaton).

       2.      Specifically, on April 24, 2013 (when Mr. Chargois’ role in the litigation as well

as his proposed allocation of a portion of the class attorneys’ fee was first broached), Mr.

Chargois was described to Lieff Cabraser by Mr. Bradley as “local counsel who assists Labaton

in matters involving [ATRS].” See LCHB-0053483.1 In subsequent communications in 2015

and 2016, Mr. Chargois was described to Lieff Cabraser variously as the “[A]rkansas local”

(LCHB-0053491), the “Arkansas firm” (LCHB-0053531), the “Arkansas component” (id.), and

“the local attorney in this matter who has played an important role.” (LCHB-0053542). See also

Chiplock Dep. (Sept. 8, 2017) at 102:3-13; 109:19-110:18; 115:8-117:8; 118:9-22.



1
  Mr. Chiplock, who was the principal Lieff Cabraser attorney on the case, was apparently copied
on this initial April 24, 2013 email and one or more responses to it, but did not recall receiving
them and did not himself reply. See Chiplock Dep. (Sept. 8, 2017) at 68:4-24; see also LCHB-
0053522, 0053538, 0053541.
                                                 -1-
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       3.      Lieff Cabraser attorneys, on the subsequent handful of occasions when they

referenced Mr. Chargois in written communications to attorneys at Labaton and Thornton—

which almost exclusively was in the context of discussing attorney fee allocations—referred in

kind to Mr. Chargois as the “local counsel,” “Arkansas local,” “local Arkansas counsel,” or

simply “Arkansas” counsel. See, e.g., LCHB-0053493, 0053507, 0053513, 0053522, 0053531,

0053549.

       4.      The “Agreement of Fees” entered into on August 30, 2016, approximately two

weeks prior to the submission of the final settlement and fee approval papers to the Court,

similarly references Mr. Chargois as “Labaton Sucharow’s local counsel.” LCHB-0053552.

The fee allocation charts circulated by Labaton after final settlement approval had been granted

(in November 2016) also refer to Mr. Chargois as “Labaton’s Local Counsel.” See LCHB-

0053553-56, 0053560, 0053567.

       5.      Lieff Cabraser understood Mr. Chargois’ stated role as “local counsel” throughout

the litigation to mean that he was assisting ATRS and Labaton in Arkansas, including by

interfacing with the client and/or performing local client-sided tasks that were helpful to the

litigation. This was the type of role with which Lieff Cabraser was generally familiar from prior

experience—and was the type of role played by Ohio-based local counsel (for Ohio-based

clients) in the BNY Mellon litigation (in which Lieff Cabraser was lead counsel). Lieff Cabraser

assumed that Mr. Chargois’ role as local counsel was being performed at the behest of (and with

the consent of) ATRS. All of the foregoing was consistent with the descriptions offered to Lieff

Cabraser by Labaton and Mr. Bradley of Mr. Chargois’ status and role in the litigation. See, e.g.,

Chiplock Dep. (Sept. 8, 2017) at 101:24-104:18; 109:19-111:9; 115:8-118:22.

       6.      Lieff Cabraser did not learn that Mr. Chargois (a) actually was not local counsel,

(b) had performed no work in the State Street litigation, and (c) was not known to the client


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representative for ATRS (George Hopkins), until after Mr. Hopkins (of ATRS) and Mr. Belfi (of

Labaton) were deposed on September 5, 2017.

       7.      Had the Court ordered an accounting of all attorneys’ fees and their planned

allocation pursuant to Fed. R. Civ. P. 54, or had asked specific questions to that effect at the final

approval hearing, Lieff Cabraser has (and had) no reason to believe that Mr. Chargois’ allocation

(along with all of the others’) would not have been made known to the Court. At no time, ever,

did Lieff Cabraser agree to “conceal” the existence of Mr. Chargois from anyone, including

ERISA counsel, any clients, or the Court,2 either before3 or after the final approval hearing

(including in the November 28, 2017 “clawback” letter which Lieff Cabraser did not draft and

which, without Lieff Cabraser’s input, did not divulge Mr. Chargois’ identity or fee interest to

ERISA counsel).4

Dated: November 3, 2017             Respectfully submitted,

                                    Lieff Cabraser Heimann & Bernstein, LLP
                                    275 Battery Street, 29th Floor
                                    San Francisco, CA 94111
                                    415-956-1000



                                    By:
                                          Richard M. Heimann
                                          Attorney for Lieff Cabraser Heimann & Bernstein, LLP



2
  See, e.g., Chiplock Dep. (Sept. 8, 2017) at 100:7-101:23; 104:19-105:7; 108:19-109:7; 119:4-
20; 140:4-141:10.
3
  Mr. Chiplock himself was not aware of Mr. Chargois when the original agreement
memorializing a 9% fee allocation for ERISA counsel was signed in December 2013. See
Chiplock Dep. (Sept. 8, 2017) at 120:19 – 121:15; see also LCHB-0053522, 0053538, 0053541.
Mr. Lieff, for his part, did not recall Mr. Chargois’ existence or stated role after the initial April
2013 email exchange until being reminded by Mr. Bradley in 2015 (and then again in 2016) of
Mr. Chargois’ putative status as local counsel. LCHB-0053531, 0053538.
4
  See Sucharow Dep. (Sept. 1, 2017) at 20:22-23:15; 26:1-24. Lieff Cabraser was not copied on
the email correspondence concerning the clawback letter in which it was stated there was “no
need for ERISA to see Damon’s split.” Id.
                                                  -3-
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                   EXHIBIT B




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                      LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

                    Chronological Index of Pertinent Emails/Communications1

Tab

1           LCHB-0053483        4/25/13 email from Garrett Bradley of Thornton Law Firm
                                to Robert Lieff, copying Daniel Chiplock and others
                                regarding “the obligation to the local counsel who assists
                                Labaton in matters involving the Arkansas Teachers
                                Retirement System.” Lieff replies that he is in “full
                                agreement” with proposal to allocate 4 or 5% of awarded
                                attorneys’ fees to Damon Chargois.


2           LBS025771           4/25/13 email from Chargois to Bradley (copying Lieff,
                                Chiplock and others) agreeing to the same proposal, thereby
                                confirming the description of him as “local counsel”
                                assisting Labaton Sucharow LLP (“Labaton”).


3           LCHB-0053491-92 8/6/15 email from Bradley to Lieff, copying Michael
                            Thornton, referring to Chargois as the “Arkansas local,”
                            with an implied fee amount of 5% (arising in the context of
                            negotiating a fee allocation among class counsel).


4           LCHB-0053493-4      8/28/15 string containing email from Lieff to Bradley
                                referring in kind to “Arkansas local counsel,” with a
                                provision for 5% of fees. (Also in the context of negotiating
                                a fee allocation among class counsel.)


5           LCHB-0053507-12 8/28/15 exchange between Lieff and Chiplock referring to
                            “Arkansas local” at 5%. (Again, part of the same allocation
                            effort.)




1
    These documents are being transmitted electronically by separate sharefile.


                                              -1-
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Tab
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6           LCHB-0053513-14 8/28/15 string containing email from Bradley to Chiplock
                            and others regarding fee allocation, indicating that the
                            “Arkansas fee is still being negotiated,” with prior emails
                            referring multiple times to either “Arkansas,” “Arkansas
                            fee,” or “local Arkansas counsel.”


7           LCHB-0053522-23 8/30/15 email exchange between Chiplock and Bradley
                            where Chiplock asks for copy of written agreement
                            discussing “local Arkansas counsel” fee component.
                            Bradley responds saying the “Arkansas component” was to
                            “come off the top.”


8           LCHB-0053531-32 8/30/15 string containing emails from (i) Chiplock to
                            Bradley asking for a copy of the written agreement relating
                            to Arkansas local; (ii) Lieff to Bradley saying he does not
                            have a copy of the agreement; and (iii) Bradley to Lieff and
                            to Chiplock saying that he re-sent it to Lieff previously and
                            that he will send it again when he gets to his office.


9           LCHB-0053538-40 6/14/16 email from Chiplock to Lieff, forwarding a copy of
                            8/30/15 and 7/28/15 emails from Bradley to Lieff and
                            Chiplock and Thornton, with the note “I don’t know how
                            you get around this.” The 8/30/15 and 7/28/15 emails from
                            Bradley to Lieff each forwarded a copy of the original April
                            2013 email exchange, describing Chargois as “local
                            counsel.”


10          LCHB-0053541        6/14/16 email from Chiplock to Lieff indicating that he
                                found the April 2013 email in archives, and that he had no
                                memory of it. Forwarding a copy of the April 2013 email to
                                Lieff and inquiring how “local counsel’s” fee is going to be
                                calculated.


11          TLF-SST-057140      7/8/16 email from Bradley to Lieff, Chiplock and others
                                (copying Chargois) describing Chargois as “the local
                                attorney in this matter who has played an important role.”




                                              -2-
1532126.2
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Tab
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12          LCHB-0053542        7/8/16 email from Chiplock to Lieff forwarding a copy of
                                the preceding email, and inviting Lieff to respond.


13          LCHB-0053544-45 7/8/16 email string containing a response from Chargois to
                            Sucharow, copying Lieff, Chiplock and others, confirming
                            his agreement to 5.5% and effectively confirming the
                            description of his role in Bradley’s email of the same date.


14          LBS039936-37        7/8/16 string containing email from Lieff to Bradley,
                                copying others, confirming Lieff Cabraser’s agreement to
                                “5.5[%] to Chargois.”


15          LCHB-0053548-49 String containing 8/12/16 corrective email from Lieff to
                            Bradley, correcting Lieff’s prior communication to include a
                            reference to “local counsel.” (Emphasis in original).


16          LCHB-0053552        August 2016 written agreement concerning proposed
                                allocation of attorneys’ fees, referencing “Labaton
                                Sucharow’s local counsel.”


17          LCHB-0053553-55 11/23/16 email from Nicole Zeiss of Labaton to Lieff,
                            Chiplock and others referring to “Labaton’s local counsel.”


18          LCHB-0053560-62 11/23/16 email exchange between Chiplock and Lieff
                            agreeing that figures for Lieff Cabraser look correct.


19          LCHB-0053567-69 11/23/16 email from Chiplock to Zeiss confirming that Lieff
                            Cabraser’s figures look correct.




                                             -3-
1532126.2
